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                                AFFIDAVIT

     I, Cristina Jones, being duly sworn, declare and state as

follows:

                        I. PURPOSE OF AFFIDAVIT

             This affidavit is made in support of a criminal

complaint and arrest warrant against Suk Min Choi, also known as

(“a.k.a.”) “Alex Choi,” a.k.a. “@AlexChoi1,” a.k.a. “@Alex.Choi”

(collectively, “CHOI”) for a violation of 49 U.S.C. §

46505(b)(3), 18 U.S.C. § 2(b) (causing the placement of

explosive or incendiary device on an aircraft) (the “Subject

Offense”).

             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of the investigation into this matter.            Unless
specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only and all dates and times are approximate.

                        II. BACKGROUND OF AFFIANT

             I am a Special Agent (“SA”) with the United States

Department of Transportation, Office of Inspector General (“DOT-

OIG”), and have been so employed since July 2019.            Previously, I

was a Special Agent with the United States Department of Labor,

Office of Inspector General, from February 2018 to July 2019.               I


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am assigned to the Western Regional Office in Cerritos,

California, where I investigate matters concerning violations of

Title 18 and Title 49 of the United States Code.            As a DOT-OIG

Special Agent, I am responsible for investigating various types

of fraud and safety violations related to DOT programs.

           I have completed three months of training at the

 Federal Law Enforcement Training Center in Brunswick, Georgia.

 During my employment as a DOT-OIG Special Agent, I have

 participated in investigations related to transportation

 safety, wire fraud, mail fraud, fraud against DOT programs, and

 various other DOT-related violations, including those involving

 aircrafts.    I have participated in various aspects of criminal

 investigations, including bank-record analysis, electronic

 surveillance, physical surveillance, search warrants, arrests,

 and reviewing evidence from digital devices.

                    III. SUMMARY OF PROBABLE CAUSE

           On or about July 4, 2023, CHOI posted an approximately

11-minute-long video titled “Destroying a Lamborghini With
Fireworks” to his YouTube channel.1        Nearly 1 million people

subscribe to that channel.      In the video, CHOI presses a “fire

missiles” button while two women are in a helicopter shooting

fireworks at a Lamborghini sportscar.         After shooting what

     1 On May 25, 2024, I viewed the video via CHOI’s YouTube
channel. As of May 28, 2024, the video is no longer publicly
available for view on CHOI’s YouTube channel. Posts related to
the video on CHOI’s Instagram account were also no longer
publicly available. DOT-OIG forensically saved a copy of the
video and the Instagram posts before they were publicly removed.
Videos containing footage from the shoot involving fireworks
shot from the helicopter remain publicly available through other
YouTube channels and social media accounts.

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appears to be a live-action version of a fictionalized video-

game scene, the video transitions to a behind-the-scenes look at

how CHOI shot the first third of the video.           During that portion

of the video, CHOI makes various references to his coordinating

the shoot as follows: the video states it is “Directed by” CHOI;

CHOI thanks a camera company for “being a part of my crazy

stupid ideas;” that the group present “fucked up” at one point

“because I forgot to tell my friend how to use a torch;” and

made the decision to end filming when someone asked if they

would film again, stating, “No, that’s it, we’re out of

fireworks, right?”

           Based on the above, and as described in further detail

below, there is probable cause to believe that CHOI committed

the Subject Offense, i.e., on or about June 8, 2023 and June 27,

2023, within the Central District of California and elsewhere,

CHOI, together with others, caused individuals to have placed on

an aircraft, that is a helicopter (hereinafter referred to as

the ”HELICOPTER”), an explosive or incendiary device, namely,
fireworks, in violation of Title 49, United State Code, Section

46505; and Title 18, United States Code, Section 2(b).

                        VI.   REGULATORY BACKGROUND

           The Federal Aviation Administration (“FAA”) is an

agency within the United States Department of Transportation

charged with ensuring the safety of aircraft operations in the

United States.    The FAA regulates all civilian aviation matters

in the United States and enforces the Code of Federal

Regulations within its jurisdiction.


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             Per the FAA, the filming of a video such as CHOI’s

would have required an approved Certificate of Waiver for Motion

Picture and Television Filming.       In order to receive such

waiver, an aircraft pilot/operator must develop an acceptable

operations manual for use in motion picture and television

filming production. The aircraft pilot/operator must submit FAA

Form 7711-2 (Certificate of Waiver or Authorization

Application), and include a proposed motion picture and

television operations manual, at least 45 days before actual

filming begins. Further, the operator must develop safe

operating procedures, guidelines, and criteria to operate below

the altitude required in Title 14 of the Code of Federal

Regulations (14CFR) part 91 91.119(b) and (c), 91.303, and

91.515(a).

             In addition to having an approved motion picture and

television flight operation manual, the aircraft pilot/operator

must also submit a written plan of activities three days before

the scheduled filming to the responsible FAA Flight Standards
District Office (FSDO) having jurisdiction over the area of

proposed filming. The plan of activities must include: (1) dates

and times for all flights; (2) name and phone number of person

responsible for filming production events; (3) name and phone

number of person(s) responsible for the aircraft; (4) make,

model, and serial or N-number of aircraft to be used and type of

airworthiness certificate, including category; (5) name and

certificate number of pilots in the filming production event

including any notation or external-load endorsement or aerobatic


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competency, if required; (6) a statement that the waiver holder

has obtained permission from the property owners and/or local

officials to conduct the filming production event. The list of

those who gave permission must be made available to the

inspector upon request from the waiver holder; (7) signature of

waiver holder or representative; and (8) a description of the

flight activity including maps or diagrams of any area, city,

town, county, and/or state over which filming will be conducted

and the minimum altitudes the accomplish the operation.

                    VII. STATEMENT OF PROBABLE CAUSE

           Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

           YouTube Video

           I have reviewed the video titled, “Destroying a

Lamborghini With Fireworks,” published on CHOI’s YouTube channel

(AlexChoi1) and observed the following:

           As the video begins to play, and as shown below, a

banner appears on the top left corner that reads, “includes paid

promotion,” as depicted below on the following page:




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           The video is approximately 10 minutes and 45 seconds

long. About the first three minutes of the video show various

dramatic action scenes. A female and male acting as police

officers discuss going to find an individual who is speeding.

The female is then shown getting into a helicopter. In

subsequent clips, two females are seen onboard a helicopter,

while the helicopter is airborne, and the females are holding

and shooting fireworks out of the helicopter onto and towards a
Lamborghini sportscar (the “Sportscar”) driving on the ground as

depicted in the screenshots below on the following page:




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           After the first three minutes, the video transitions

into a behind-the-scenes filming of the action scenes. During

this portion of the video, there are clips of an individual

advertising the use of the purported sponsor of the video’s

cameras.

           A person who I believe to be CHOI based on DMV

photograph records I reviewed is heavily featured in the video

discussing various parts of filming, including: switching the

type of fuel he puts into the Sportscar “whenever I’m doing

crazy shit,” purportedly because of “less detonation;” that he

worked with the sponsoring camera company to shoot the “craziest

Fourth of July video involving cars and fireworks;” and

discussing that these are “crazy stupid ideas.”

           The same two females who flew in the HELICOPTER during

the action scenes are shown with one holding a lighter and

firework and asking how she is supposed to light the firework in

the middle of the air as depicted in the screenshots below on
the next page. A person not visible in the clip responds and

explains how she should expose the fuse and light it.             At a

later point in the video, one of the females in the HELICOPTER--

while it’s grounded--asks if someone off camera could “hear the

fireworks on the car.” In response, the person states “It’s so

fucking loud; it’s so loud; it’s actually terrifying.”




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            In various clips, there is a silver and white color

RV, with one clip showing CHOI entering the RV.

            At approximately six minutes and fifty-four seconds,

CHOI also appears near the HELICOPTER holding what appears to be

a firework, as depicted below on the following page:




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            In a subsequent clip, CHOI is sitting in the driver

seat of a vehicle while an individual says another individual is

“getting hit.” In a later clip, CHOI asks, “How many people have

holes in their shirts?” and one individual responds, “I got shot

twice,” and again states to the camera “bro, I got double

tapped.” The same individual then appears in a clip showing him

get hit by the fireworks being shot from the HELICOPTER as

depicted in the screenshot below:




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            Shortly after, another person asks CHOI whether

they’ll be shooting again, with CHOI responding no, and asking,

“We’re out of fireworks, right?” Quickly thereafter, CHOI is

seen boasting that he “sprayed everyone” and then noting that he

saw everyone ducking down.

            The credits shown at the end of the video read

“Directed by Alex Choi.”




                  FAA Investigates the “Destroying a Lamborghini
      with Fireworks” Production Involving Fireworks Shot from a

      Helicopter.

            On December 05, 2023, an FAA Inspector notified DOT-

OIG that he investigated a video production organized by CHOI

involving a helicopter flown by a pilot carrying passengers who

shot fireworks from inside the helicopter towards a vehicle

driving on the ground at what FAA believed was the El Mirage Dry

Lakebed in San Bernardino County within the Central District of

California. The FAA Inspector provided me copies of his


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enforcement investigation reports for CHOI and the helicopter

pilot.2 The FAA revoked the helicopter pilot’s license because he

acted as the pilot in command on or about June 27, 2023 on a

passenger-carrying commercial flight in the vicinity of the El

Mirage Dry Lake Bed in San Bernardino County, during which

passengers launched fireworks from a hand-held device, operated

the helicopter less than 500 feet from people and a moving car

on the ground, did not display the helicopter’s “N” number,

created a hazard to persons or property by allowing the

fireworks to be launched at a moving passenger-carrying vehicle,

operated at less than the minimum altitudes prescribed in 14

C.F.R. 91.119, creating a hazard to persons and property on the

surface, and operated the helicopter in a manner that was

careless or reckless so as to endanger the life or property of

another.    I reviewed both reports and interviewed the FAA

Inspector, and learned the following:

            a.    On approximately July 18, 2023, the FAA Inspector

interviewed an individual identified in the credits of CHOI’s

video. I reviewed the FAA Inspector’s report and learned that

the individual told the FAA Inspector he transported cars as a

favor for CHOI and was not sure of the exact location of

filming. The individual identified the helicopter pilot by first

name. The FAA Inspector identified the Instagram account of this

same individual (i.e., the individual who transported cars) and

found photographs posted on approximately June 27, 2023, on his


      2The FAA took no action against CHOI because he did not
have operational control of the HELICOPTER.

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Instagram account showing a helicopter and a Lamborghini. Based

on those photographs, the FAA Inspector was able to identify the

tail number of the HELICOPTER. The FAA Inspector also noted that

the HELICOPTER had a logo on it associated with a helicopter

pilot he had previously investigated. The FAA Inspector further

confirmed the identity of the pilot with a second FAA Inspector,

who viewed CHOI’s video, and had also investigated the same

helicopter pilot on another occasion.

            b.    The FAA interviewed two drone operators that

assisted in the video production. I reviewed the interview

reports and learned the following:

                  i.    On November 3, 2023, during an FAA

interview, a Drone Operator (herein after referred to as “Drone

Operator 1”) said he shot footage on June 27, 2023, and that he

believed CHOI brought the fireworks to the video shoot. Drone

Operator 1 also stated to FAA Inspectors that he had concerns

about the video shoot and tried to stay away and behind the

helicopter. Drone Operator 1 further told the FAA that he did

not remember any first responders on site.

                  ii.   In a follow-up e-mail, dated November 3,

2023, an FAA Inspector asked Drone Operator 1 if he knew which

car the fireworks were in and came from. On November 5, 2023,

Drone Operator 1 responded via e-mail and wrote that he was one

of the last people to arrive and, when it was time to shoot, the

fireworks came out of a “small, white RV type vehicle” that was

already there when he got there.




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                  iii. On November 13, 2023, the FAA interviewed a

second Drone Operator (herein after referred to as “Drone

Operator 2”). The FAA asked Drone Operator 2 who brought the

fireworks; Drone Operator 2 said he did not know, but that it

may have been CHOI. Drone Operator 2 mentioned to the FAA that

there was a safety talk that he described as spontaneous where

CHOI did the talking.

            c.    Drone Operator 1 provided the FAA inspector raw

footage captured on his drone on June 27, 2023, at the El Mirage

Dry lakebed. The FAA Inspector determined that the helicopter

shown on the raw footage had the tail number associated with the

HELICOPTER.

            d.    Based on radar data, the FAA determined that the

HELICOPTER departed Whiteman Airport in Pacoima, California

(“WHJ Airport”) on June 27, 2023, at approximately 1:53 p.m. The

HELICOPTER flew over General William J. Fox Airfield (“WJF

Airport”) in Lancaster, CA at approximately 2:16 p.m. and turned

east toward El Mirage Dry Lakebed. At approximately 2:28 p.m.,

the HELICOPTER turned its transponder off and disappeared from

radar near Redman, California. At approximately 8:57 p.m., the

HELICOPTER reappeared on radar and flew to Whiteman Airport and

arrived at approximately 9:42 p.m.

            e.    On July 23, 2023, during a phone call with FAA

Inspectors, the pilot of the HELICOPTER said he did not know

anything about the El Mirage video but said it was probably done

in Mexico. On July 24, 2023, during a follow-up phone call with

FAA Inspectors, the pilot stated, among other things, that he


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did not want CHOI to know he was talking to the FAA, and that

CHOI was doing unsafe activities involving cars and aircraft.

             f.   In an e-mail dated July 25, 2023, the pilot wrote

to the FAA Inspector that he was not the owner of the HELICOPTER

and could not involve himself in any investigations concerning

the pilots who use it.

             g.   On January 08, 2024, the FAA issued an emergency

order of revocation for the helicopter pilot’s private pilot

certificate. One of the reasons listed for the revocation was

that the pilot acted as the pilot in command on a flight on June

27, 2023, in which passengers launched fireworks from a hand-

held device striking a moving car and people on the ground

multiple times.

                  DOT-OIG Does Not Find Permits for the “Destroying

      a Lamborghini with Fireworks” YouTube Video

             Based on where the HELICOPTER’s radar cut out and

their review of the YouTube video, the FAA Inspector believed

that the video was shot at the El Mirage Lakebed in San
Bernardino County.

             In viewing the “Destroying a Lamborghini with

Fireworks” video, CHOI can be heard stating that they are at the

“Lakebed.”

             I understand through this investigation that specific

FAA Flight Standards District Offices are charged with providing

motion picture and television certificate of waiver as well as

approving a plan of activities for filming.




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              A records request to the Van Nuys and Riverside3 FAA

Flight Standards District Offices found that none of those

offices issued a motion picture and television filming waiver

and/or approved a plan of activities for filming with the

HELICOPTER at El Mirage on June 8, 2023, or June 27, 2023.

            I also spoke with a Special Agent with the Bureau of

Land Management (“BLM”) who informed me that based on where BLM

located tire marks, they believe the video was filmed on the

federally owned portion of the El Mirage Dry Lakebed. BLM took

photos of the tire marks on July 24, 2023, which are depicted

below:




            Based on my review of the video, in which the

Sportscar is seen turning in circles, as depicted above, I




      3Because the video was likely shot in El Mirage Lakebed,
the Riverside FAA Flight Standards District Office is charged
with issuing permits. A check of other offices was done as
well.

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believe that these tire marks are associated with the filming of

the “Destroying a Lamborghini with Fireworks” video.

            In addition, BLM informed me that BLM issued no

permits to CHOI or any other individuals or entities for CHOI’s

video filmed on June 27, 2023.         BLM also informed me that CHOI

would have needed a special recreation filming permit, proof of

insurance, and would likely require a pyrotechnician and fire

crews on site for the use of fireworks.           BLM informed me that

all fireworks are banned on all BLM property without a permit.

            ATF also provided records to me indicating that no

explosives licenses or permits were issued to CHOI, Choi

Corporation, the pilot-in-command of the HELICOPTER used for the

video shoot, or the name of the individual billed as the

logistics manager in the credits of the “Destroying a

Lamborghini with Fireworks” video.

                   Before Filming, CHOI Stated He Would Be Obtaining

      Fireworks from Las Vegas Because They Are Illegal In

      California
            The “Destroying a Lamborghini with Fireworks” video

contains a caption with an ad for a camera company and hashtags

related to the camera company, including a link for a “free”

invisible camera stick.

            Based on records I obtained and reviewed, I learned

the following:

            a.     In an e-mail dated May 13, 2023, from an email

account depicting CHOI’s name as the username, CHOI wrote that

he would shoot at El Mirage.         CHOI wrote his idea was to make a


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short, one minute video of an “attack helicopter shooting

missiles (mortar style fireworks) at the car, while the car is

trying to run away and dodge the missiles using flares (roman

candle fireworks attached to the back of the car).” CHOI also

wrote, “As these fireworks are expensive and I plan on letting

them all off at the same time, to make a crazy, hectic, firework

show.” CHOI wrote that the cost break down would be $2100 for

the helicopter (700 per hour x3) and $500-700 for the fireworks.

            b.    I have reviewed screenshots of text messages

obtained in this investigation from the camera company. The

contact name at the top of the messages was “Alex Choi.” One

screenshot shows a contact number for “Alex Choi,” which is the

same number that appears on CHOI’s Airman Certificate and/or

Rating Application submitted to the FAA, dated December 4, 2019.4

            c.    The screenshots show text messages with a blue

background and responses with a light grey background. Based on

my knowledge of iPhones, I believe the messages with the blue

background were sent by the user of the phone who took the
screenshots and the messages with the light grey background were

sent from the contact listed, which in this case, would appear

to be CHOI. In addition, as the messages are in grey and blue,

based on my understanding oh iPhones, it would appear that CHOI

also uses an iPhone when text messaging.              In the “Destroying a

Lamborghini with Fireworks” video, CHOI appears holding what

looks like an iPhone while driving, as depicted below:


      4I reviewed this record on May 24, 2024.             The Application
bears an electronical signature for CHOI.

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            d.    The text messages only show a month and day.

Based on my knowledge of this investigation and the timeline of

events, I believe the text messages described below were

sent/received in 2023. In addition, based on my knowledge of

iPhones, I believe the year is only shown above a text message

once a full year has passed since the message was sent or

received. The messages described below were provided in February

2024, before the one-year mark of when I believe the messages

were sent or received.

            e.    In a text message exchange dated April 25, the

sender proposes to CHOI an idea for a Fourth of July short

vertical sponsored video in which CHOI captures an “insane 360-

degree bumpers shot with firecrackers.” In a later response,

dated April 28, CHOI wrote, “I’ll go to a salt flat, tape as

much fireworks as you guys are willing to purchase for me on the

car, do drifts (the firework will look super cool through the


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clouds of dust) while i set off the fireworks. I can even get my

friend with a helicopter out and attach cameras on the

helicopter while he chases me.” The next text message from CHOI

reads, “i can even have someone sitting in the helicopter and

have them shoot fireworks back at me.”

            f.    In a message that does not display the date

received, CHOI wrote, in part, “I would also have to drive to

Las Vegas to buy fireworks, as they are illegal in california”

followed by a laughing crying emoji. In another message, dated

May 20, CHOI wrote, “Also- i will be driving to Las Vegas on the

29th to get those fireworks.” In a subsequent text message dated

May 29, CHOI wrote, “I am going to grab the fireworks today.”

            g.    In a text message dated June 10, CHOI wrote,

“amazing, but i want to re-shoot it. We messed up 1 really

important shot i wanted to get. the helicopter pilot said he

would only charge me 700 dollars if i wanted to re-shoot it next

week, since he will be out there for another job. If you guys

can’t cover that, i’ll pay out of my own pocket.” The next
message CHOI sent read, “and i’m driving to Las Vegas next week

to buy some more fireworks.”

            h.    In text messages dated July 24, the sender

informs CHOI that they were contacted by the FAA and asked CHOI

if he knew anything about why the FAA is contacting them. CHOI

responds in part, “that guy has a personal issue with my

helicopter pilot friend and every time i do a shoot with him,

tries to get more information about him so he can go after him.




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Some other people in the production got contacted as well, I

advised them to just ignore the email. I am sorry about that.”

            In addition, I obtained raw video footage from the

camera company of the filming associated with the “Destroying a

Lamborghini with Fireworks” on CHOI’s YouTube Channel.              The

videos appear to be taken by cameras mounted on a vehicle and

depict the same events from different angles. Based on the file

name of those videos, it appears that CHOI filmed footage on

June 8, 2023, and again on June 27, 2023. Videos from both

dates, show fireworks being shot out of a helicopter.

            Based on financial records I obtained for accounts

held by CHOI and “Alex Choi Corporation,” I learned that on May

29, 2023, a credit card in the name Alex Choi Corporation was

used to make a purchase in the amount of $15.68 with a

transaction description of “Chevron 0359694 Las Vegas” as well

as a purchase in the amount $21.72 with a transaction

description of “Espresso Las Vegas.” As noted before, in the

text messages described above, CHOI wrote that he would be
“driving to Las Vegas on the 29th to get those fireworks.”

                           VIII.       CONCLUSION

            For all of the reasons described above, there is

probable cause to believe that CHOI, together with others,

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caused individuals to have placed on an aircraft, that is a

helicopter, an explosive or incendiary device, namely,

fireworks, in violation of 49 U.S.C. § 46505(b)(3) and 18 U.S.C.

§ 2(b).

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 4th day of June,
2024.



THE HONORABLE KAREN STEVENSON
UNITED STATES CHIEF MAGISTRATE JUDGE




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